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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.                              Case No. 08-cr-164-01/02/03-SM

Juan Galan, et al.,
      Defendants

                                    ORDER


      Defendant Galan’s motion to continue the trial is granted (document no.

15). Trial has been rescheduled for the month of May 2009. Defendant Galan

shall file a waiver of speedy trial rights not later than March 19, 2009. On the

filing of such waiver, his continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is scheduled for May 8, 2009 at 1:30 p.m.

      Jury selection will take place on May 19, 2009 at 9:30 a.m.

      SO ORDERED.


                                     _________________________
                                     Steven J. McAuliffe
                                      Chief Judge


March 5, 2009

cc:   John Kacavas, Esq.
      Daniel Lustenberger, Esq.
      Jeffrey Levin, Esq.
      Jennifer Davis, AUSA
      U.S. Marshal
      U.S. Probation




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